UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

Case No. CV 20-03235-PSG (DFM) Date: October 20, 2020

Title Eric Dwight Rice v. Gavin Newsom

 

 

Present: The Honorable Douglas F. McCormick, United States Magistrate Judge

 

 

 

 

 

 

Nancy Boehme Not Present
Deputy Clerk Court Reporter
Attorney(s) for Plaintiff(s): Attorney(s) for Defendant(s):
Not Present Not Present
Proceedings: (IN CHAMBERS) Order to Show Cause

 

 

 

On August 24, 2020, the Court ordered Petitioner to file an amended petition within thirty-
five (35) days naming the warden of the facility in which he is incarcerated. See Dkt. 12. To
date, Petitioner has not done so. Accordingly, Petitioner is ordered to show cause within twenty-
one (21) days why the Court should not dismiss this action for failure to prosecute. Failure to
respond to this order to show cause may result in a dismissal of this action. The filing of an

amended petition is sufficient to discharge this order.

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